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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------   X
DAILY NEWS, LP; CHICAGO TRIBUNE                           :
COMPANY, LLC; ORLANDO SENTINEL                            :   No. 1:24-cv-03285-SHS-OTW
COMMUNICATIONS COMPANY, LLC;                              :
SUN-SENTINEL COMPANY, LLC; SAN                            :
JOSE MERCURY-NEWS, LLC; DP MEDIA                          :
NETWORK, LLC; ORB PUBLISHING,                             :
LLC; AND NORTHWEST                                        :
PUBLICATIONS, LLC,                                        :
                                                          :
                      Plaintiffs,                         :
                                                          :
                           v.                             :
                                                          :
MICROSOFT CORPORATION, OPENAI,                            :
INC., OPENAI LP, OPENAI GP, LLC,                          :
OPENAI, LLC, OPENAI OPCO LLC,                             :
OPENAI GLOBAL LLC, OAI                                    :
CORPORATION, LLC, OPENAI                                  :
HOLDINGS, LLC,                                            :
                                                          :
                      Defendants.
                                                          :
                                                          X
-------------------------------------------------------

       MOTION TO WITHDRAW ALLYSON R. BENNETT AS COUNSEL FOR
     DEFENDANTS OPENAI, INC., OPENAI LP, OPENAI GP, LLC, OPENAI, LLC,
     OPENAI OPCO LLC, OPENAI GLOBAL LLC, OAI CORPORATION, LLC, and
                         OPENAI HOLDINGS, LLC

         PLEASE TAKE NOTICE THAT, Morrison & Foerster LLP hereby moves this court

for an order pursuant to Local Civil Rule 1.4, relieving Allyson R. Bennett, as counsel for

Defendants OPENAI, INC., OPENAI LP, OPENAI GP, LLC, OPENAI, LLC, OPENAI OPCO

LLC, OPENAI GLOBAL LLC, OAI CORPORATION, LLC, and OPENAI HOLDINGS, LLC

in the above-captioned action on the grounds that she is no longer an attorney with Morrison &

Foerster LLP, and respectfully requests that she be removed from the CM/ECF noticing list and

any other service list in this case.




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       PLEASE TAKE FURTHER NOTICE The undersigned counsel from Morrison &

Foerster LLP will continue to represent OPENAI, INC., OPENAI LP, OPENAI GP, LLC,

OPENAI, LLC, OPENAI OPCO LLC, OPENAI GLOBAL LLC, OAI CORPORATION, LLC,

and OPENAI HOLDINGS, LLC in this action.



Dated: September 19, 2024                    MORRISON & FOERSTER LLP



                                             By: /s/ Joseph C. Gratz
                                                Joseph C. Gratz (pro hac vice)
                                                JGratz@mofo.com
                                                Andrew L. Perito (pro hac vice)
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                                                Telephone:       (415) 268-7000
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                                                 Attorneys for Defendants
                                                 OPENAI, INC., OPENAI LP, OPENAI
                                                 GP, LLC, OPENAI, LLC, OPENAI
                                                 OPCO LLC, OPENAI GLOBAL LLC,
                                                 OAI CORPORATION, LLC, and
                                                 OPENAI HOLDINGS, LLC




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                                CERTIFICATE OF SERVICE

        I hereby certify that on September 19, 2024 the within document was filed with the Clerk

of the Court using CM/ECF which will send notification of such filing to the attorneys of record

in this case.

                                                                 /s/ Joseph C. Gratz
                                                                JOSEPH C. GRATZ




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